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                      UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
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Edward C. Hugler, Acting Secretary of )
Labor, United States Department of Labor )
(Wage and Hour Division)                     )
                                             )
               Plaintiff,                    )
                                             )               Civil Action No. 3: l 7-cv-00079
       v.                                    )
                                             )
Tyler Holdings, Inc. d/b/a                   )
Interceptor Security Services                )
and Teresa Tyler Individually and as         )
as CEO of Tyler Holdings, Inc.               )
                                             )
                                             )
               Defendants.                   )


                                   CONSENT JUDGMENT


       Plaintiff, Edward C. Hugler, Acting Secretary of Labor, United States Department of

Labor (hereinafter 11the Secretary"), and the Defendants, Tyler Holdings, Inc. d/b/a Interceptor

Security Services and Teresa Tyler, (hereinafter "the Defendants"}, hereby agree to the entry of

this Consent Judgment. Defendants, having agreed to accept service of Plaintiffs complaint,

waive their right to Answer and waive all defenses.

       The parties have attempted to come to an amicable resolution of the matters at issue in

Plaintiffs Complaint. The Parties entered into a Settlement Agreement on March 19, 2013

("2013 Settlement Agreement") to resolve Defendants' alleged violations under the Fair Labor

Standards Act of 1938, as amended (29 U.S.C. § 201, et seq.), hereinafter referred to as "the

Act." Under the 2013 Settlement Agreement, Defendants agreed to pay a total of $68,778.03 in

back wages, liquidated damages, and interest pursuant to a payment plan. Defendants did not

comply with the Schedule of Payments set forth in the 2013 Settlement Agreement. The parties

then entered into a Settlement Agreement on November 12, 2014 ("2014 Settlement
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Agreement") to resolve Defendants' alleged violations under the Act. Under the 2014
Settlement Agreement, Defendants agreed to pay a total of $63,242.14 in back wages, liquidated
damages, and interest pursuant to a payment plan. Defendants have not complied with the
Schedule of Payments set forth in the 2014 Settlement Agreement. The Plaintiff has agreed to
resolve this matter via consent judgment, which the Defendants have agreed to sign.
        Therefore, upon the motion of the attorneys, and for good cause shown, it is:
        1.     ORDERED, ADJUDGED, AND DECREED by the Court that the Defendants,
their agents, servants, employees, and all persons acting or claiming to act in their behalf and
interest shall be, and hereby are, permanently enjoined and restrained from violating the
provisions of Sections 206, 207, 211 and 215 of the Act, in the following manner:
               a.      Defendants shall not, contrary to Section 206 of the Act, pay to any of
their employees who in any workweek are engaged in commerce or in the production of goods
for commerce, or are employed in an enterprise engaged in commerce, or in the production of
goods for commerce, as defined by the Act, wages of less than the applicable federal minimum
wage, currently set at $7.25 per hour.
               b.      Defendants shall not, contrary to Section 207 of the Act, employ any of
their employees engaged in commerce or in the production of goods for commerce, or employed
in an enterprise engaged in commerce or in the production of goods for commerce, as defined by
the Act, for workweeks longer than those prescribed by Section 207 of the Act, unless the
employees receive compensation for their employment in excess of the maximum hours
prescribed by the aforesaid sections at rates not less than one and one-half times the regular rates
at which they are employed.
               c.      Defendants shall not, contrary to Sections 211 of the Act, fail to make,
keep, and preserve adequate and accurate records of their employees and of the wages, hours,
and other conditions of employment they maintain.
               d.      Defendants, nor anyone acting on the Defendants' behalf, shall not,
contrary to Sections 215 (a)(3) and 218(c) of the Act, directly or indirectly discharge or in any


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other manner discriminate or threaten to discharge or discriminate against any employee because

that employee has filed any complaint or instituted or caused to be instituted any proceeding

under or related to the Act, or has testified or was about to testify in a proceeding under the Act.

       Further, the parties agreeing and the Court finding that back wage compensation is due to

certain employees for the period from April 1, 2011 to March 27, 2012 in the amounts shown on

Schedule A, attached hereto and made a part hereof, it is:

       2.      ORDERED, ADJUDGED, AND DECREED by the Court that the Defendants are

liable for the payment of back wage compensation under Section l 6(c) of the Act in the total

amount of $38,029.12 to the individuals listed in Schedule A, are jointly and severally liable for

said amount, and are directed to make payment of the said compensation as hereafter specified.

               a.      The provisions of this Judgment relative to back wage payments and

                       liquidated damages shall be deemed satisfied when the Defendants deliver

                       to Plaintiffs representatives a total of $38,029.12 on or before March 1,

                       2017 by certified or cashier check made payable to "Wage-Hour, Labor"

                       with Case No. 1648480 noted and mailed to:


                       U.S. Department of Labor/Wage & Hour Division
                       The Curtis Center, Suite 850, West
                       170 S. Independence Mall West
                       Philadelphia, PA 19106-3317

               b.      The Plaintiff, after making legal deductions, shall distribute the proceeds

of the check to the employees involved as reflected in Schedule A, or to their estates if that is

necessary, and any sums not distributed to the employees named herein or to their personal

representatives because of inability to locate the proper persons or because of such persons'

refusal to accept such sums, shall be deposited with the Treasurer of the United States pursuant

to 28 U.S.C. §§2041 and 2042.


               c. Neither Defendants nor anyone acting on their behalf or within their control



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shall directly or indirectly solicit or accept the return or refusal of any sums paid as back wages

or interest on such back wages under this Judgment.

        3.         It is FURTHER ORDERED, ADJUDGED, AND DECREED by the Court that

the Defendants, their agents, servants, employees, and all persons acting or claiming to act in

their behalf and interest shall be, and hereby are, permanently enjoined and restrained from

withholding the payment of back wages to the individuals listed in Schedule A.

       4.          It is FURTHER ORDERED, ADJUDGED, AND DECREED that if Defendants

fail to make the payment as set forth in Paragraph 2 above, upon notice to the Defendants, the
Court shall appoint a Receiver to effectuate all of the terms of this Consent Judgment. In the

event a Receiver is appointed:

              a.          Defendants shall cooperate with the Receiver in all respects, and shall

provide to the Receiver any and all information which the Receiver may require to carry out its

appointment and in accordance with the authority given to the Receiver pursuant to applicable

law at the time of appointment.

              b.          All the expenses of the accountant or Receiver shall be borne solely by the

Defendants.

              c.          If the Court appoints a Receiver, the Receiver shall serve until the

payment of the monetary terms of this Judgment are satisfied.

              d.          The Receiver shall have full authority to: collect the Defendants' assets

and report his/her findings to the Court and the parties; to redeem and/or liquidate the

Defendants' assets and turn over the proceeds to the Secretary; if the asset is a debt that is due,

collect it and turn over the proceeds to the Secretary; to analyze all indebtedness and where

deemed appropriate seek restructuring; to analyze all transfers of the Defendants' assets; to

prevent waste or fraud; and to do all acts and take all measures necessary or proper for the

efficient performance of the duties under this Judgment.

       5.          Within thirty days of the entry of an order approving this Order, Defendants will

provide the Administrator with the current or last known address, telephone number, and social



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security number (or individual taxpayer identification number (if either are known)) of each
.individual identified on the attached Schedule A.
        6.     ORDERED, ADJUDGED, AND DECREED by the Court that upon full
compliance with the terms of this Consent Judgment, the dispute between the Secretary and the
Defendants with regard to violations of the Fair Labor Standards Act of 1938, as amended, 29
U.S.C. §201 et. seq., (hereinafter "the Act") as addressed in the 2014 Settlement Agre~ment shall
be fully resolved.
        7.     It is FURTHER ORDERED, ADJUDGED AND DECREED that each party shall
bear its own fees and other expenses incurred by such party in connection with any stage of this
proceeding.




Date   February/~    , 2017
                                      Judge:
                                                        /s/
                                               Robert E. Payne
                                                              /Ztl'
                                               United States District Judge




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Date_ _ _ _ _ _ __
                                     Teresa Tyler, as CEO         er Holdings, Inc.
                                     d/b/a Interceptor Security Services


Date     I - I 2- - 11
                                     bri;:;.J~
                                      Attorney
                                      Blank Rome LLP




The Plaintiff has reviewed this Judgment and agrees to its entry.



Date I, Z.   ~   'I'}             G/::i
                                      Attorney
                                                              (?
                                      U.S. Department of Labor



                                      ATTORNEY FOR PLAINTIFF




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             The Defendants have reviewed this Judgment and consent to its entry.



             Date      1-12-17
                                                   Teresa Tyler, as CEO         er Holdings, Inc.
                                                   d/b/a Interceptor Security Services


             Date       1-12-17
                 --------                                                 ~A~

             The Plaintiff has reviewed this Judgment and agrees to its entry.



             Date
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                                                  Ali Beydoun
                                                  Attorney

                                                  U.S. Department of Labor



                                                  ATTORNEY FOR PLAINTIFF




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                             SCHEDULE A


 1.    Terron Adams
 2.    Neil Beiley
 3.    Alexander Baine
 4.    Tiffany Baker
 5.    Ricky Benson
 6.    Stephanie Booker
 7.    Joseph Brown
 8.    Darlene Chalkley
 9.    Jonathan Chatman
 10.   Mario Cox
 11.   Dondre Crews
 12.   Austin Crosby
 13.   Derrick Edmonds
 14.   Dwan Ellis
 15.   Jeremy Evans
 16.   Jermaine Frazier
 17.   Zenita Gray
 18.   Ron Green
 19.   George Johnson
 20.   Dennis Lewis, Sr.
 21.   Bemadetta Lovelace
 22.   Alfred McCapes
 23.   Billie Mclendon
 24.   Junior Mendes
 25.   Quinten Mills
 26.   Dwayne Mitchell
 27.   Kaila Myrick
 28.   Geraldine Pitchford
 29.   Kalleye Rock
 30.   Tammie Rose
 31.   Sharmain Shakir
 32.   Lorenzo Simmons
 33.   Charee Smith
 34.   Crystal Smith
 35.   Clifford Temple
 36.   Deborah Tribbey
 37.   Derrick Tulloch
 38.   Crystral Updike
 39.   Teresa Vinson
 40.   Arthur Waddey
 41.   Michael Walker




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